

ORDER

PER CURIAM:
AND NOW, this 29th day of July, 2003, a Rule having been entered by this Court on May 19, 2003, pursuant to Rule 214(d)(1), Pa.R.D.E., directing Francis Peter Eagen, III, to show cause why he should not be placed on temporary suspension, upon consideration of the responses filed, it is hereby
ORDERED that the Rule is made absolute; Francis Peter Eagen, III, is placed on temporary suspension pursuant to Rule 214(d)(2), Pa.R.D.E.; he shall comply with all the provisions of Rule 217, Pa.R.D.E.; and the matter is referred to the Disciplinary Board pursuant to Rule 214(f)(1), Pa. R.D.E.
